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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                               'I DOC #:
.......................................................................    x   b D A E FILED: !-3c - CT
In re ELAN SECURITIES LITIGATION.                                                ."
                                                                               07 Civ. 0865 (RMB)

                                                                                      ORDER
........................................................................   X

          Based on the motion of Lead Counsel, the Affidavit of Michael Rosenbaum, dated

December 1 1, 2007, the Declaration of Marc I. Gross, dated December 17, 2007, and the

Affidavit of Ruth Hyman, dated January 29, 2008, the remaining balance of the Settlement Fund

in this case is hereby ordered to be distributed as set forth below.

          Whereas, this Court approved the settlement of this securities fraud class action for

$75,000,000 cash, by Order, dated April 19, 2005; and

          Whereas, the Securities and Exchange Commission contributed an additional

$15,000,000 to the Settlement Fund representing its recovery from Elan Corp., Plc.; and

          Whereas, following the payment of attorneys' fees and expensses, good faith efforts were

made to distribute the Settlement Fund to over 54,000 claimants; and

          Whereas, as detailed in the Affidavit of Michael Rosenbaum of Berdon Claims

Adnlinistration LLC ("BCA"), dated December 11, 2007 ("Rosenbaum Affidavit"), there

remains approximately $435,000 of undistributed funds due to the inability to locate current

addresses for 904 claimants whose checks were returned as undeliverable or uncashed (many of

whom are foreign residents), and the return of 5 1 checks by claimants who are either no longer

in business or received duplicate checks; and

          Whereas, as reflected in the Rosenbaum Affidavit, it is not economically feasible to

distribute the remaining funds to the 54,000 eligible claimants; and

          Whereas, the Court has stated to Counsel that remaining Settlement Funds belong to the
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shareholders and not to either the administrator (BCA), who has already been appropriately

con~pensatedfor past services rendered, or non-profit organizations however worthy   (k,
                                                                                       The

Federal Judicial Center, The Institute For Law and Economic Policy, The Multiple Sclerosis

Center of Atlanta), by orders, dated January 9,2008, and January 22, 2008;

       IT IS HEREBY ORDERED that the remaining funds be distri~butedas follows:

       1.     18.6% of the balance will be paid to the Securities and Exchange Commission
              (approximately $8 1,000);

       2.     BCA will be paid $15,000 for services to be rendered in connection with
              distribution of the balance of the Fund, including tracking the cashed, uncashed,
              and returned checks;

       3.     After payment of the foregoing, the remaining amount will be distributed in
              amounts of no less than $10 per check to claimants who received and cashed
              checks for $5,000 or less in the first round; and

       4.     Any checks that senlain uncashed or returned after 45 days will be deemed void.
              All re~nainingfunds will be allocated to Elan Corp., P'lc. to be used specifically
              for shareholder services and shareholder relations.

       IT IS SO ORDERED.

Dated: New York, New York
       January 30,2008



                                            RICHARD M. BERMAN, U.S.D.J.
